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                                                                                           William L. Charron
                                                                                                             Partner
                                                                                            Direct Tel: 212-326-0156
                                                                                           Direct Fax: 212-798-6927
                                                                                        wcharron@pryorcashman.com




                                                     April 1, 2022

VIA ECF

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     Free Holdings Inc. v. Kevin McCoy, Case No. 1:22-cv-00881 (LGS);
               Defendants’ Pre-Motion Letter regarding Motion to Dismiss Complaint

Dear Judge Schofield:

        We represent defendant Kevin McCoy (“McCoy”) in the above-referenced action. We
respectfully write pursuant to Your Honor’s Individual Rule III.C.2 to advise of McCoy’s intention
to move to dismiss the Complaint of plaintiff Free Holdings Inc. (“Plaintiff”) in its entirety, pursuant
to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). We understand that co-defendants Sotheby’s Inc. and
Nameless Corporation intend to join McCoy’s motion.

       We have conferred with Plaintiff’s counsel and respectfully propose the following briefing
schedule: McCoy’s motion to be filed by April 11, 2022; Plaintiff’s opposition to be filed by May
23, 2022; McCoy’s reply to be filed by June 6, 2022. We also respectfully request (with Plaintiff’s
consent) that the Rule 16 conference scheduled for April 13, 2022, and Rule 26(f) requirements, be
adjourned pending decision on McCoy’s motion.

Summary Of Complaint

         Plaintiff alleges that it holds title to a non-fungible token (“NFT”), which it describes as the
“First Known NFT.” (ECF No. 1 at ¶¶ 1–7.) Plaintiff alleges that McCoy, who is a well-known
digital artist, created the First Known NFT in 2014 in association with his creation of a digital work
of art known as Quantum. (Id. at ¶ 18.) Plaintiff alleges that McCoy created the First Known NFT
using a blockchain platform known as Namecoin. (Id.) Plaintiff alleges that McCoy subsequently
abandoned the First Known NFT and allowed it to be claimed by Plaintiff in 2021. (Id. at ¶¶ 21–
25.) Plaintiff alleges that McCoy’s sale of a NFT in the fall of 2021 through a Sotheby’s auction,
which marketed McCoy’s NFT as the first NFT, has slandered the title and damaged the value of
the NFT that Plaintiff now claims to own. (Id. at ¶¶ 58–101.) None of Plaintiff’s claims is viable.
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Plaintiff Fails To Allege Special Damages To Support Its First Claim

        Plaintiff’s First Claim is for slander of title under New York law. (Id. at ¶¶ 58–73.) Slander
of title requires Plaintiff to plead special damages. E.g., Kriger v. Indus. Rehab. Corp., 185
N.Y.S.2d 658, 662 (1959), aff’d, 166 N.E.2d 189 (1960); Chamilia, LLC v. Pandora Jewelry, LLC,
No. 04-CV-6017 (KMK), 2007 WL 2781246, at *11 (S.D.N.Y. Sept. 24, 2007). Courts “routinely
grant motions to dismiss for failure to allege special damages with requisite specificity.” Gucci
Am., Inc. v. Duty Free Apparel, Ltd., 277 F. Supp. 2d 269, 278 (S.D.N.Y. 2003) (finding it
insufficient to “state a general, cumulative figure” without itemizing “actual losses” sustained or
naming specific lost customers); see also Fed. R. Civ. P. 9(g). A plaintiff “will be denied even
nominal or punitive damages if he cannot show special damage, since in such a case no cause of
action at all is established.” Kirby v. Wildenstein, 784 F. Supp. 1112, 1116 (S.D.N.Y. 1992).

        Plaintiff’s pleading falls far short of this standard. Plaintiff alleges only that “the value of
the [] NFT owned by [Plaintiff] has been significantly damaged” by McCoy’s sale of his NFT. (Id.
at ¶ 73.) Plaintiff has not alleged any amount of actual damage. Nor has Plaintiff alleged any
specific lost sale opportunities. To the extent that Plaintiff is alleging that is ability to sell its NFT
in the future may somehow be hampered, such an allegation is insufficient as a matter of law. See
Rosenbaum v. City of N.Y., 8 N.Y.3d 1, 12 (2006) (explaining that claim for slander of title “does
not arise until special damages actually result”).

        Accordingly, Plaintiff’s First Claim should be dismissed.

Plaintiff Fails To Allege Consumer-Oriented Conduct To Support Its Second Claim

        Plaintiff’s Second Claim is for violation of New York General Business Law (“GBL”) §
349. Such a claim requires Plaintiff to allege that McCoy engaged in deceptive conduct that was
“consumer-oriented.” E.g., Genesco Entm’t v. Koch, 593 F. Supp. 743, 752 (S.D.N.Y. 1984)
(explaining that “the deceptive practices this statute seeks to combat involve recurring transactions
of a consumer type … that confront the average consumer who requires the protection of a statute
against fraudulent practices,” not a “‘single shot transaction’ involving complex arrangements,
knowledgeable and experienced parties and large sums of money”); Karlin v. IVF Am., Inc., 93
N.Y.2d 282, 294 (1999).

        Plaintiff conclusorily alleges that McCoy “engaged in consumer-oriented conduct by
marketing for sale and selling their [sic.] NFT.” (ECF No. 1 at ¶ 75.) Nevertheless, Plaintiff does
not allege that McCoy engaged in conduct that threatens to defraud consumers generally through
recurring transactions. Plaintiff alleges a “single shot transaction” involving McCoy, Sotheby’s,
Nameless and Sotheby’s buyer (who was initially named by Plaintiff as a co-defendant in this case
as well, but whom Plaintiff voluntarily dismissed from the case to preserve diversity jurisdiction).

        Accordingly, Plaintiff’s Second Claim should be dismissed.
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Plaintiff Fails To Allege Special Damages Or An Actionable
Statement Directed At Plaintiff To Support Its Third Claim

        Plaintiff’s Third Claim is for commercial disparagement under New York law. (ECF No. 1
at ¶¶ 88–101.) This claim should be dismissed for at least two reasons. First, like a claim for
slander of title, a claim for commercial disparagement requires Plaintiff to allege special damages
with particularity. E.g., Eminah Properties LLC v. Energizer Holdings, Inc., 531 F. Supp. 3d 593,
608 (E.D.N.Y. 2021); Dentsply Int'l Inc. v. Dental Brands for Less LLC, No. 15 CIV. 8775 (LGS),
2016 WL 6310777, at *6 (S.D.N.Y. Oct. 27, 2016). Again, Plaintiff has failed to do so. (ECF No.
1 at ¶¶ 100-101.)

        Second, Plaintiff is required to allege that McCoy made a disparaging statement directed
“at” Plaintiff or “at” Plaintiff’s NFT. E.g., North Am. Olive Oil Ass'n v. D'Avolio Inc., 457 F. Supp.
3d 207, 231 (E.D.N.Y. 2020). Plaintiff alleges that McCoy marketed and sold his NFT as the first
NFT, but Plaintiff does not allege that McCoy made any statements that were directed at Plaintiff
or Plaintiff’s NFT specifically.

All Of Plaintiff’s Claims Fail For Lack Of Standing

       In addition to the grounds stated above, all three of Plaintiff’s claims should be dismissed
for want of subject matter jurisdiction and Article III justiciability because Plaintiff has not alleged
any injury-in-fact, which is necessary for it to establish its standing to sue. Spokeo Inc. v. Robins,
136 S. Ct. 1540, 1547 (2016) (citations omitted). This matter will be fully explained in McCoy’s
motion, but in sum Plaintiff has not actually or plausibly alleged that it holds title to the First Known
NFT. Plaintiff alleges that it controls a “unique” and “sequential[ly]” distinct NFT that merely
copies certain metadata from the First Known NFT. (See ECF No. 1 at ¶ 15.)

        Because all of Plaintiff’s claims proceed from the faulty premise that Plaintiff owns the First
Known NFT, which is the alleged source of vague, future damages to Plaintiff (as discussed above),
all of Plaintiff’s claims should be dismissed for lack of standing. E.g., Doe v. Quest Diagnositcs,
Inc., No. 15 CIV. 8992 (LGS), 2017 WL 1102663, at *2 (S.D.N.Y. Mar. 23, 2017) (granting Rule
12(b)(1) motion to dismiss and explaining that “‘no principle is more fundamental to the judiciary’s
proper role in our system of government than the constitutional limitation of federal-court
jurisdiction to actual cases or controversies.’”) (quotation and citation omitted).

        Furthermore, because the issue of subject matter jurisdiction and justiciability is
fundamental, McCoy is permitted to introduce facts concerning Plaintiff’s standing that are
extrinsic to Plaintiff’s Complaint. Carter v. HealthPort Techs. LLC, 822 F.3d 47, 56 (2d Cir. 2016).

                                                       Respectfully submitted,




                                                       William L. Charron
cc:    All counsel (via ECF)
